  Case 1:21-cv-06082-BMC Document 1 Filed 11/02/21 Page 1 of 12 PageID #: 1




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK

CARLOS RUIZ FLOREZ,
    Plaintiff,
vs.

40-56 JUNCTION BOULEVARD LLC and
DON FRANCISCO RESTAURANT INC.,                                     COMPLAINT
       Defendants.



       Plaintiff, CARLOS RUIZ FLOREZ, by his undersigned counsel, hereby files this

Complaint and sues Defendants, 40-56 JUNCTION BOULEVARD LLC and DON

FRANCISCO RESTAURANT INC., for injunctive relief pursuant to the Americans with

Disabilities Act, 42 U.S.C. § 12181, et seq., (hereinafter the “A.D.A”) and the ADA’s

Accessibility Guidelines, 28 C.F.R. Part 36 (hereinafter the “ADAAG”).

                                         JURISDICTION

       1.      This Court has original jurisdiction over the action pursuant to 28 U.S.C., §§1331

and 1343 for Plaintiff’s claims arising under 42 U.S.C. § 12181. et seq., based upon Defendant’s

violations of Title III of the ADA (see also, 28 U.S.C. §§ 2201 and 2202).

       2.      Plaintiff, CARLOS RUIZ FLOREZ, currently resides in Queens County New

York, and is sui juris. He is a qualified individual with disabilities under the ADA law. Carlos

suffered a spinal cord injury as a child complete from the T-7 to T11 and has paraplegia. Carlos

is bound to ambulate in a wheelchair. He has visited the property, which forms the basis of this

lawsuit and plan to return to the property to avail himself of the goods and services offered to the

public at the property, and to determine whether the property has been made ADA compliant.

His access to the facility and/or full and equal enjoyment of the goods, services, facilities,

privileges, advantages, and/or accommodations offered therein was denied and/or limited
  Case 1:21-cv-06082-BMC Document 1 Filed 11/02/21 Page 2 of 12 PageID #: 2




because of these disabilities, and will be denied and/or limited in the future unless and until

Defendant is compelled to remove the physical barriers to access and ADA violations which

exist at the facility, including but not limited, to those set forth in the Complaint.

        3.      Defendant, 40-56 JUNCTION BOULEVARD LLC, is a limited liability company

that transacts business in the State of New York and within this judicial district. Defendant is the

owner of the real property, which is the subject of this action located on or about at 40-56

Junction Blvd., Flushing, NY 11368 (hereinafter the “Facility”).

        4.      Defendant, DON FRANCISCO RESTAURANT INC., is a domestic corporation

and transacts business in the State of New York and within this judicial district. Defendant is the

lessee and operator of the premises known as NUEVO DON FRANCISCO, located on or about

at 40-56 Junction Blvd., Flushing, NY 11368 (hereinafter the “Facility”).

        5.      The Defendants’ Facility is a public accommodation and service establishment,

and although required by law to do so, it is not in compliance with the ADA and ADAAG.

        6.      In this instance, Plaintiff visited the Facility and encountered barriers to access at

the Facility, engaged barriers, suffered legal harm and injury, and will continue to suffer legal

harm and injury as a result of the illegal barriers to access as set forth herein.

        7.      Plaintiff has suffered and continues to suffer direct and indirect injury as a result

of the ADA violations that exist at the Facility.

        8.      All events giving rise to this lawsuit occurred in the State of New York. Venue is

proper in this Court as the premises are located in the Southern District.

                           FACTUAL ALLEGATIONS AND CLAIM

        9.      Plaintiff has attempted to access the facility, but could not do so without severe

hardship, because of his disabilities, and the physical barriers to access and ADA violations that
  Case 1:21-cv-06082-BMC Document 1 Filed 11/02/21 Page 3 of 12 PageID #: 3




exist at the Facility, which restrict and/or limit his access to the goods and services offered at the

Facility. The ADA violations are more specifically set forth in this Complaint.

       10.      Plaintiff intends to visit the Facility again in the near future in order to utilize all

of the goods and services offered therein but will be unable to do so because of the physical

barriers to access, dangerous conditions and ADA violations that exist at the facility that restrict

and/or limit his access to the facility, including those barriers conditions and ADA violations

more specifically set forth in this Complaint.

       11.      Defendants have discriminated against Plaintiff and others with disabilities by

denying access to, and full and equal enjoyment of the goods and services of the facility, as

prohibited by 42 U.S.C., § 12182, et.seq., and by failing to remove architectural barriers as

required by 42 U.S.C., § 12182(b)(2)(A)(iv), and will continue to discriminate against Plaintiff

and others with disabilities unless and until Defendants are compelled to remove all physical

barriers that exist at the facility, including those specifically set forth herein, and make the

facility accessible to and usable by persons with disabilities, including Plaintiff.

       12.      Defendants have discriminated against Plaintiff by failing to comply with the

above requirements. A specific, although not exclusive, list of unlawful physical barriers,

dangerous conditions and ADA violations, which preclude and/or limit Plaintiff’s ability to

access the Facility and full and equal enjoyment of the goods, services offered at the Facility

include:

           I.   ACCESSIBLE ROUTE TO ESTABLISHMENT NOT PROVIDED AS
                REQUIRED. ACCESSIBLE MEANS OF EGRESS NOT PROVIDED AS
                REQUIRED. THE FIRST OF TWO ENTRANCES IS INACCESSIBLE.
                EXISTING STEP AT THE FIRST OF TWO ENTRANCES ACTS AS A
                BARRIER TO ACCESSIBILITY. REQUIRED RAMP NOT PROVIDED FOR
                STEP AT THE FIRST OF TWO ENTRANCES.
Case 1:21-cv-06082-BMC Document 1 Filed 11/02/21 Page 4 of 12 PageID #: 4




             a. ADAAG 206 Accessible Routes. ADAAG 206.1 General. Accessible
                routes shall be provided in accordance with 206 and shall comply with
                Chapter 4. ADAAG 206.2 Where Required. Accessible routes shall be
                provided where required by 206.2. ADAAG 206.2.1 Site Arrival Points.
                At least one accessible route shall be provided within the site from
                accessible parking spaces and accessible passenger loading zones; public
                streets and sidewalks; and public transportation stops to the accessible
                building or facility entrance they serve. ADAAG 206.4 Entrances.
                Entrances shall be provided in accordance with 206.4. Entrance doors,
                doorways, and gates shall comply with 404 and shall be on an accessible
                route complying with 402. ADAAG 206.4.1 Public Entrances. In
                addition to entrances required by 206.4.2 through 206.4.9, at least 60
                percent of all public entrances shall comply with 404. ADAAG 207
                Accessible Means of Egress. ADAAG 207.1 General. Means of egress
                shall comply with section 1003.2.13 of the International Building Code
                (2000 edition and 2001 Supplement) or section 1007 of the International
                Building Code (2003 edition) (incorporated by reference, “Referenced
                Standards” in Chapter 1). ADAAG 403 Walking Surfaces. ADAAG
                403.4 Changes in Level. Changes in level shall comply with 303.
                ADAAG 303.4 Ramps. Changes in level greater than ½ inch high shall
                be ramped and shall comply with 405 or 406.

     II.   REQUIRED MINIMUM MANEUVERING CLEARANCE NOT PROVIDED
           AT DOOR OF THE FIRST OF TWO ENTRANCES. NON-COMPLIANT
           CHANGE IN FLOOR LEVEL WITHIN REQUIRED MANEUVERING
           CLEARANCE AT DOOR OF THE FIRST OF TWO ENTRANCES.

             a. ADAAG 404.2.4 Maneuvering Clearances. Minimum maneuvering
                clearances at doors and gates shall comply with 404.2.4. Maneuvering
                clearances shall extend the full width of the doorway and the required
                latch side or hinge side clearance. ADAAG 404.2.4.4 Floor or Ground
                Surface. Floor or ground surface within required maneuvering clearances
                shall comply with 302. Changes in level are not permitted.

    III.   THE SECOND OF TWO ENTRANCES IS INACCESSIBLE. EXISTING
           STEP AT THE SECOND OF TWO ENTRANCES ACTS AS A BARRIER TO
           ACCESSIBILITY. REQUIRED RAMP NOT PROVIDED FOR STEP AT THE
           SECOND OF TWO ENTRANCES.

             a. ADAAG 206 Accessible Routes. ADAAG 206.1 General. Accessible
                routes shall be provided in accordance with 206 and shall comply with
                Chapter 4. ADAAG 206.2 Where Required. Accessible routes shall be
                provided where required by 206.2. ADAAG 206.2.1 Site Arrival Points.
Case 1:21-cv-06082-BMC Document 1 Filed 11/02/21 Page 5 of 12 PageID #: 5




               At least one accessible route shall be provided within the site from
               accessible parking spaces and accessible passenger loading zones; public
               streets and sidewalks; and public transportation stops to the accessible
               building or facility entrance they serve. ADAAG 206.4 Entrances.
               Entrances shall be provided in accordance with 206.4. Entrance doors,
               doorways, and gates shall comply with 404 and shall be on an accessible
               route complying with 402. ADAAG 206.4.1 Public Entrances. In
               addition to entrances required by 206.4.2 through 206.4.9, at least 60
               percent of all public entrances shall comply with 404. ADAAG 207
               Accessible Means of Egress. ADAAG 207.1 General. Means of egress
               shall comply with section 1003.2.13 of the International Building Code
               (2000 edition and 2001 Supplement) or section 1007 of the International
               Building Code (2003 edition) (incorporated by reference, “Referenced
               Standards” in Chapter 1). ADAAG 403 Walking Surfaces. ADAAG
               403.4 Changes in Level. Changes in level shall comply with 303.
               ADAAG 303.4 Ramps. Changes in level greater than ½ inch high shall
               be ramped and shall comply with 405 or 406.

    IV.   REQUIRED MINIMUM MANEUVERING CLEARANCE NOT PROVIDED
          AT DOOR OF THE SECOND OF TWO ENTRANCES. NON-COMPLIANT
          CHANGE IN FLOOR LEVEL WITHIN REQUIRED MANEUVERING
          CLEARANCE AT DOOR OF THE SECOND OF TWO ENTRANCES.

            a. ADAAG 404.2.4 Maneuvering Clearances. Minimum maneuvering
               clearances at doors and gates shall comply with 404.2.4. Maneuvering
               clearances shall extend the full width of the doorway and the required
               latch side or hinge side clearance. ADAAG 404.2.4.4 Floor or Ground
               Surface. Floor or ground surface within required maneuvering clearances
               shall comply with 302. Changes in level are not permitted.

    V.    INACCESSIBLE DINING COUNTER. NON-COMPLIANT HEIGHT OF
          DINING COUNTER EXCEEDS MAXIMUM HEIGHT ALLOWANCE.
          REQUIRED MINIMUM KNEE AND TOE CLEARANCE NOT PROVIDED
          AT DINING COUNTER. PORTION OF DINING COUNTER REQUIRED TO
          BE ACCESSIBLE NOT PROVIDED.

            a. ADAAG 226 Dining Surfaces and Work Surfaces. ADAAG 226.1
               General. Where dining surfaces are provided for the consumption of
               food or drink, at least 5 percent of the seating spaces and standing spaces
               at the dining surfaces shall comply with 902. ADAAG 902 Dining
               Surfaces and Work Surfaces. ADAAG 902.1 General. Dining surfaces
               and work surfaces shall comply with 902.2 and 902.3. Advisory 902.1
               General. Dining surfaces include, but are not limited to, bars, tables,
Case 1:21-cv-06082-BMC Document 1 Filed 11/02/21 Page 6 of 12 PageID #: 6




               lunch counters, and booths. ADAAG 902.2 Clear Floor or Ground
               Space. A clear floor space complying with 305 positioned for a forward
               approach shall be provided. Knee and toe clearance complying with 306
               shall be provided. ADAAG 902.3 Height. The tops of dining surfaces
               and work surfaces shall be 28 inches (710 mm) minimum and 34 inches
               (865 mm) maximum above the finish floor or ground. ADAAG 306.2
               Toe Clearance. ADAAG 306.2.3 Minimum Required Depth. Where toe
               clearance is required at an element as part of a clear floor space, the toe
               clearance shall extend 17 inches (430 mm) minimum under the element.
               ADAAG 306.2.5 Width. Toe clearance shall be 30 inches (760 mm)
               wide minimum. ADAAG 306.3 Knee Clearance. ADAAG 306.3.3
               Minimum Required Depth. Where knee clearance is required under an
               element as part of a clear floor space, the knee clearance shall be 11
               inches deep minimum at 9 inches above the ground, and 8 inches deep
               minimum at 27 inches (685 mm) above the finish floor or ground.
               ADAAG 306.3.5 Width. Knee clearance shall be 30 inches (760 mm)
               wide minimum.

    VI.   INACCESSIBLE DINING TABLES. REQUIRED MINIMUM KNEE AND
          TOE CLEARANCE NOT PROVIDED AT DINING TABLES. A MINIMUM
          PERCENTAGE OF EXISTING DINING TABLES REQUIRED TO BE
          ACCESSIBLE NOT PROVIDED.

            a. ADAAG 226 Dining Surfaces and Work Surfaces. ADAAG 226.1
               General. Where dining surfaces are provided for the consumption of
               food or drink, at least 5 percent of the seating spaces and standing spaces
               at the dining surfaces shall comply with 902. ADAAG 902 Dining
               Surfaces and Work Surfaces. ADAAG 902.1 General. Dining surfaces
               and work surfaces shall comply with 902.2 and 902.3. ADAAG 902.2
               Clear Floor or Ground Space. A clear floor space complying with 305
               positioned for a forward approach shall be provided. Knee and toe
               clearance complying with 306 shall be provided. ADAAG 306.2 Toe
               Clearance. ADAAG 306.2.3 Minimum Required Depth. Where toe
               clearance is required at an element as part of a clear floor space, the toe
               clearance shall extend 17 inches (430 mm) minimum under the element.
               ADAAG 306.2.5 Width. Toe clearance shall be 30 inches (760 mm)
               wide minimum. ADAAG 306.3 Knee Clearance. ADAAG 306.3.3
               Minimum Required Depth. Where knee clearance is required under an
               element as part of a clear floor space, the knee clearance shall be 11
               inches deep minimum at 9 inches above the ground, and 8 inches deep
               minimum at 27 inches (685 mm) above the finish floor or ground.
               ADAAG 306.3.5 Width. Knee clearance shall be 30 inches (760 mm)
               wide minimum.
Case 1:21-cv-06082-BMC Document 1 Filed 11/02/21 Page 7 of 12 PageID #: 7




   VII.   COMPLIANT SIGNAGE IDENTIFYING THE RESTROOM NOT PROVIDED
          AS REQUIRED.

            a. ADAAG 216 Signs. ADAAG 216.1 General. Signs shall be provided in
               accordance with 216 and shall comply with 703. ADAAG 216.2
               Designations. Interior and exterior signs identifying permanent rooms
               and spaces shall comply with 703.1, 703.2, and 703.5. Where pictograms
               are provided as designations of permanent interior rooms and spaces, the
               pictograms shall comply with 703.6 and shall have text descriptors
               complying with 703.2 and 703.5. Advisory 216.2 Designations. Section
               216.2 applies to signs that provide designations, labels, or names for
               interior rooms or spaces where the sign is not likely to change over time.
               Examples include interior signs labeling restrooms, room and floor
               numbers or letters, and room names. Tactile text descriptors are required
               for pictograms that are provided to label or identify a permanent room or
               space. Pictograms that provide information about a room or space, such
               as “no smoking,” occupant logos, and the International Symbol of
               Accessibility, are not required to have text descriptors. ADAAG 703.1
               General. Signs shall comply with 703. Where both visual and tactile
               characters are required, either one sign with both visual and tactile
               characters, or two separate signs, one with visual, and one with tactile
               characters, shall be provided. ADAAG 703.4.1 Height Above Finish
               Floor or Ground. Tactile characters on signs shall be located 48 inches
               (1220 mm) minimum above the finish floor or ground surface, measured
               from the baseline of the lowest tactile character and 60 inches (1525 mm)
               maximum above the finish floor or ground surface, measured from the
               baseline of the highest tactile character. ADAAG 703.4.2 Location.
               Where a tactile sign is provided at a door, the sign shall be located
               alongside the door at the latch side. Where a tactile sign is provided at
               double doors with one active leaf, the sign shall be located on the inactive
               leaf. Where a tactile sign is provided at double doors with two active
               leafs, the sign shall be located to the right of the right-hand door. Where
               there is no wall space at the latch side of a single door or at the right side
               of double doors, signs shall be located on the nearest adjacent wall.
               Signs containing tactile characters shall be located so that a clear floor
               space of 18 inches (455 mm) minimum by 18 inches (455 mm)
               minimum, centered on the tactile characters, is provided beyond the arc
               of any door swing between the closed position and 45-degree open
               position.

  VIII.   INACCESSIBLE RESTROOM. REQUIRED MINIMUM CLEAR WIDTH
          NOT PROVIDED AT RESTROOM DOOR.
Case 1:21-cv-06082-BMC Document 1 Filed 11/02/21 Page 8 of 12 PageID #: 8




            a. ADAAG 404.2.3 Clear Width. Door openings shall provide a clear width
               of 32 inches (815 mm) minimum. Clear openings of doorways with
               swinging doors shall be measured between the face of the door and the
               stop, with the door open 90 degrees.

    IX.   REQUIRED MINIMUM MANEUVERING CLEARANCE NOT PROVIDED
          AT RESTROOM DOOR.

            a. ADAAG 404.2.4 Maneuvering Clearances. Minimum maneuvering
               clearances at doors and gates shall comply with 404.2.4. Maneuvering
               clearances shall extend the full width of the doorway and the required
               latch side or hinge side clearance.

    X.    NON-COMPLIANT DOOR SWING OF DOOR OF RESTROOM.
          RESTROOM DOOR SWINGS INTO THE FLOOR SPACE OF RESTROOM
          FIXTURES.

            a. ADAAG 603.2.3 Door Swing. Doors shall not swing into the clear floor
               space or clearance required for any fixture.

    XI.   NON-COMPLIANT DOORKNOB AT RESTROOM DOOR REQUIRES
          TWISTING OF THE WRIST.

            a. ADAAG 404.2.7 Door and Gate Hardware. Handles, pulls, latches,
               locks, and other operable parts on doors and gates shall comply with
               309.4. ADAAG 309.4 Operation. Operable parts shall be operable with
               one hand and shall not require tight grasping, pinching, or twisting of the
               wrist. The force required to activate operable parts shall be 5 pounds
               maximum.

   XII.   NON-COMPLIANT DOOR LOCK AT RESTROOM DOOR REQUIRES
          TWISTING OF THE WRIST.

            a. ADAAG 404.2.7 Door and Gate Hardware. Handles, pulls, latches,
               locks, and other operable parts on doors and gates shall comply with
               309.4. ADAAG 309.4 Operation. Operable parts shall be operable with
               one hand and shall not require tight grasping, pinching, or twisting of the
               wrist. The force required to activate operable parts shall be 5 pounds
               maximum.

  XIII.   REQUIRED MINIMUM            TURNING       SPACE      NOT     PROVIDED        IN
          RESTROOM.
Case 1:21-cv-06082-BMC Document 1 Filed 11/02/21 Page 9 of 12 PageID #: 9




            a. ADAAG 603 Toilet and Bathing Rooms. ADAAG 603.1 General. Toilet
               and bathing rooms shall comply with 603. ADAAG 603.2 Clearances.
               Clearances shall comply with 603.2. ADAAG 603.2.1 Turning Space.
               Turning space complying with 304 shall be provided within the room.
               ADAAG 304.3.1 Circular Space. The turning space shall be a space of
               60 inches (1525 mm) diameter minimum. The space shall be permitted
               to include knee and toe clearance complying with 306.

  XIV.   INACCESSIBLE LAVATORY IN RESTROOM. REQUIRED MINIMUM
         CLEAR FLOOR SPACE NOT PROVIDED AT LAVATORY IN RESTROOM.

            a. ADAAG 606 Lavatories and Sinks. ADAAG 606.2 Clear Floor Space.
               A clear floor space complying with 305, positioned for a forward
               approach, and knee and toe clearance complying with 306 shall be
               provided. ADAAG 305.3 Size. The clear floor or ground space shall be
               30 inches (760 mm) minimum by 48 inches (1220 mm) minimum.

   XV.   REQUIRED MINIMUM KNEE AND TOE CLEARANCE NOT PROVIDED
         AT LAVATORY IN RESTROOM.

            a. ADAAG 606 Lavatories and Sinks. ADAAG 606.2 Clear Floor Space.
               A clear floor space complying with 305, positioned for a forward
               approach, and knee and toe clearance complying with 306 shall be
               provided. ADAAG 306.2 Toe Clearance. ADAAG 306.2.3 Minimum
               Required Depth. Where toe clearance is required at an element as part of
               a clear floor space, the toe clearance shall extend 17 inches (430 mm)
               minimum under the element. ADAAG 306.2.5 Width. Toe clearance
               shall be 30 inches (760 mm) wide minimum. ADAAG 306.3 Knee
               Clearance. ADAAG 306.3.3 Minimum Required Depth. Where knee
               clearance is required under an element as part of a clear floor space, the
               knee clearance shall be 11 inches deep minimum at 9 inches above the
               ground, and 8 inches deep minimum at 27 inches (685 mm) above the
               finish floor or ground. ADAAG 306.3.5 Width. Knee clearance shall be
               30 inches (760 mm) wide minimum.

  XVI.   INACCESSIBLE PAPER TOWEL DISPENSER IN RESTROOM. NON-
         COMPLIANT MOUNTED HEIGHT OF PAPER TOWEL DISPENSER IN
         RESTROOM EXCEEDS MAXIMUM HEIGHT ALLOWANCE.

            a. ADAAG Advisory 606.1 General. If soap and towel dispensers are
               provided, they must be located within the reach ranges specified in 308.
               ADAAG 308.2 Forward Reach. ADAAG 308.2.1 Unobstructed. Where a
               forward reach is unobstructed, the high forward reach shall be 48 inches
Case 1:21-cv-06082-BMC Document 1 Filed 11/02/21 Page 10 of 12 PageID #: 10




                maximum, and the low forward reach shall be 15 inches minimum above
                the finish floor or ground. ADAAG 308.2.2 Obstructed High Reach.
                Where a high forward reach is over an obstruction, the clear floor space
                shall extend beneath the element for a distance not less than the required
                reach depth over the obstruction. The high forward reach shall be 48
                inches maximum where the reach depth is 20 inches maximum. Where
                the reach depth exceeds 20 inches, the high forward reach shall be 44
                inches maximum, and the reach depth shall be 25 inches maximum.
                ADAAG 308.3 Side Reach. ADAAG 308.3.1 Unobstructed. Where a
                clear floor or ground space allows a parallel approach to an element and
                the side reach is unobstructed, the high side reach shall be 48 inches
                maximum, and the low side reach shall be 15 inches minimum above the
                finish floor or ground. ADAAG 308.3.2 Obstructed High Reach. Where
                a clear floor or ground space allows a parallel approach to an element and
                the high side reach is over an obstruction, the height of the obstruction
                shall be 34 inches maximum, and the depth of the obstruction shall be 24
                inches maximum. The high side reach shall be 48 inches maximum for a
                reach depth of 10 inches maximum. Where the reach depth exceeds 10
                inches, the high side reach shall be 46 inches maximum for a reach depth
                of 24 inches maximum.

   XVII.   INACCESSIBLE MIRROR IN RESTROOM. NON-COMPLIANT MOUNTED
           HEIGHT OF MIRROR IN RESTROOM EXCEEDS MAXIMUM HEIGHT
           ALLOWANCE.

             a. ADAAG 603.3 Mirrors. Mirrors located above lavatories or countertops
                shall be installed with the bottom edge of the reflecting surface 40 inches
                (1015 mm) maximum above the finish floor or ground. Mirrors not
                located above lavatories or countertops shall be installed with the bottom
                edge of the reflecting surface 35 inches (890 mm) maximum above the
                finish floor or ground.

  XVIII.   INACCESSIBLE WATER CLOSET IN RESTROOM.   REQUIRED
           MINIMUM CLEARANCE NOT PROVIDED AT WATER CLOSET IN
           RESTROOM.

             a. ADAAG 604 Water Closets and Toilet Compartments. ADAAG 604.3
                Clearance. Clearances around water closets and in toilet compartments
                shall comply with 604.3. ADAAG 604.3.1 Size. Clearance around a
                water closet shall be 60 inches (1525 mm) minimum measured
                perpendicular from the side wall and 56 inches (1420 mm) minimum
                measured perpendicular from the rear wall.
 Case 1:21-cv-06082-BMC Document 1 Filed 11/02/21 Page 11 of 12 PageID #: 11




      XIX.      REQUIRED GRAB BARS NOT PROVIDED ON REAR AND SIDE WALLS
                OF WATER CLOSET IN RESTROOM.

                    a. ADAAG 604.5 Grab Bars. Grab bars for water closets shall comply with
                       609. Grab bars shall be provided on the side wall closest to the water
                       closet and on the rear wall.

       XX.      NON-COMPLIANT DISTANCE OF WATER CLOSET FROM SIDE WALL
                IN RESTROOM.

                    a. ADAAG 604.2 Location. The water closet shall be positioned with a
                       wall or partition to the rear and to one side. The centerline of the water
                       closet shall be 16 inches minimum to 18 inches maximum from the side
                       wall or partition.

        13.     The above listing is not to be considered all-inclusive of the barriers, which exist

at the Facility. Plaintiff requires an inspection of the facility, in order to determine all of the

ADA violations.

        14.     The removal of the physical barriers, dangerous conditions and ADA violations

set forth herein is readily achievable and can be accomplished and carried out without much

difficulty or expense, 42 U.S.C. § 12182(B)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R, §

36.304.

        15.     Plaintiff is without adequate remedy at law and is suffering irreparable harm, and

reasonably anticipates that he will continue to suffer irreparable harm unless and until

Defendants are required to remove the physical barriers, dangerous conditions and ADA

violations that exist at the facility, including those set forth herein.

        16.     The Plaintiff has been obligated to retain undersigned counsel for the filing and

prosecution of this action. The Plaintiff is entitled to have his reasonable attorney’s fees, costs

and expenses paid by the Defendants, pursuant to 42 U.S.C., §§ 12205 and 12217.

        17.     Pursuant to 42 U.S.C. §12188(a), this Court is provided with authority to grant

injunctive relief to Plaintiff, including an order to alter the subject facility to make it readily
 Case 1:21-cv-06082-BMC Document 1 Filed 11/02/21 Page 12 of 12 PageID #: 12




accessible to and useable by individuals with disabilities to the extent required by the ADA, and

closing the subject facility until the requisite modifications are completed.

       WHEREFORE, Plaintiff respectfully requests that the Court issue a permanent

injunction enjoining Defendants from continuing their discriminatory practices, ordering

Defendants to remove the physical barriers to access and alter the subject facility to make it

readily accessible to and useable by individuals with disabilities to the extent required by the

ADA, closing the subject facility until the barriers are removed and requisite alterations are

completed, and awarding Plaintiff his reasonable attorney’s fees, expert fees, costs and litigation

expenses incurred in this action.

                                              Respectfully submitted,

                                              s/ Maria Costanza-Barducci
                                              Maria Costanza-Barducci, Esq. (5070487)
                                                  Attorney for Plaintiff
                                              BARDUCCI LAW FIRM, PLLC
                                              5 West 19th Street, 10th Floor
                                              New York, NY 10011
                                              (212) 433-2554
                                              MC@BarducciLaw.com
